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                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                         ABINGDON DIVISION

UNITED STATES OF AMERICA                         )
                                                 )     Case No. 1:14CR00023
                                                 )
v.                                               )     OPINION AND ORDER
                                                 )
BETH PALIN, ET AL.,                              )     By: James P. Jones
                                                 )     United States District Judge
                    Defendants.                  )

      Janine M. Myatt, Special Assistant United States Attorney, and Zachary T.
Lee, Assistant United States Attorney, Abingdon, Virginia, for United States;
Michael J. Khouri, Khouri Law Firm, Irvine, California, for Defendant Beth Palin;
Nancy C. Dickenson, Assistant Federal Public Defender, Abingdon, Virginia, for
Defendant Joseph D. Webb.
       The remaining defendants in this criminal case, Beth Palin and Joseph D.

Webb, have separately filed motions for judgment of acquittal, or for a new trial in

the alternative, challenging their convictions of healthcare fraud and conspiracy to

commit healthcare fraud. For the following reasons, I will deny the motions.

                                          I.

       The facts of this case are set forth in detail in my earlier opinion stating my

findings following a bench trial (Op., Apr. 7, 2016, ECF No. 297) and I will not

repeat them here.     Palin owned both Mtn. Empire Medical Care LLC (“MEMC”),

an addiction medicine clinic, and Bristol Laboratories, LLC (“Bristol Labs”), the

lab that processed the urine drug screens ordered for patients of MEMC and
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patients of a deceased coconspirator, Charles K. Wagner, M.D. Webb, Palin’s

husband, was not an owner of the clinic but held himself out as one and was

heavily involved in the operation of both MEMC and Bristol Labs.               The

government alleged and proved, in a nonjury trial, that Palin and Webb devised a

scheme to defraud Medicare, two state Medicaid programs, and various private

insurers by conducting and billing for urine drug screens that they knew were not

medically necessary.

      Palin seeks acquittal or a new trial on two grounds: (1) that the Supreme

Court’s recent decision in Universal Health Services, Inc. v. United States, 136 S.

Ct. 1989 (2016), altered the applicable law, and (2) that there was insufficient

evidence to support her conviction. Webb’s post-trial motion asserts that the

evidence was insufficient to support his conviction. The motions have been fully

briefed and are ripe for decision. I will dispense with oral argument because the

facts and legal contentions are adequately presented in the materials before the

court and argument would not significantly aide the decisional process.

                                        II.

      “[T]here is only one ground for a motion for judgment of acquittal. This is

that the evidence is insufficient to sustain a conviction of one or more of the

offenses charged in the indictment or information.” United States v. Hoover-

Hankerson, 406 F. Supp. 2d 76, 81-82 (D.D.C. 2005) (citation omitted), aff’d, 511


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F.3d 164 (D.C. Cir. 2007).      “A defendant challenging the sufficiency of the

evidence faces ‘a heavy burden.’” United States v. Thorne, 614 F. App’x 646, 647

(4th Cir. 2015) (unpublished) (quoting United States v. McLean, 715 F.3d 129, 137

(4th Cir. 2013)).

      On review of a motion for acquittal under Rule 29, the court “must sustain

the verdict if there is substantial evidence” to uphold the verdict. Burks v. United

States, 437 U.S. 1, 17 (1978). In the context of a criminal conviction, the Fourth

Circuit has defined substantial evidence as “that evidence which ‘a reasonable

finder of fact could accept as adequate and sufficient to support a conclusion of a

defendant’s guilt beyond a reasonable doubt.’” United States v. Newsome, 322

F.3d 328, 333 (4th Cir. 2003) (quoting United States v. Burgos, 94 F.3d 849, 862-

63 (4th Cir. 1996) (en banc)). The court must consider “circumstantial as well as

direct evidence.” United States v. Tresvant, 677 F.2d 1018, 1021 (4th Cir. 1982).

      Federal Rule of Criminal Procedure 33(a) provides, “Upon the defendant's

motion, the court may vacate any judgment and grant a new trial if the interest of

justice so requires. If the case was tried without a jury, the court may take

additional testimony and enter a new judgment.” “The issue of whether to grant a

new trial is firmly committed to the discretion of the trial court.” United States v.

Head, Nos. 94-5858,94-5859, 94-5906, 94-5907, 1996 WL 60445, at *2 (4th Cir.

Feb. 12, 1996) (unpublished).


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      Because this case was decided by the court after a bench trial, I have already

thoroughly reviewed the evidence and concluded that it was sufficient to convict

the defendants. Palin argues that there was insufficient evidence of fraud because

“the Government failed to provide evidence to the trier of fact of any material lie,

misrepresentation, or misleading act or omission.” (Def. Beth Palin’s Mot. for J.

of Acquittal or, In the Alternative, New Trial 15, ECF No. 338.) I disagree with

this assessment of the evidence. Palin committed fraud when she developed a

scheme by which her subordinates and agents, who were not medical professionals,

would order and bill for medically unnecessary urine drug screens that were not

used in patient treatment. By submitting claims for payment, Palin misrepresented

that the tests had been ordered for individual patients by physicians based on

medical necessity, as the insurers required, when in fact the orders were usually

completed by non-physician staff members automatically, at Palin’s direction,

without any individually determined medical need for the tests.        The various

healthcare benefit programs prohibited Bristol Labs from submitting claims for

medically unnecessary services and would not have paid for the urine drug screens

had they known the tests were medically unnecessary. That is sufficient evidence

to support a conviction of health care fraud. The evidence further showed that

Palin entered into an agreement with Webb and Wagner and took acts in




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furtherance of that agreement, supporting her conviction of conspiracy to commit

health care fraud.

      Webb contends that he is entitled to judgment of acquittal because “the

government did not prove that Medicare was a health care benefit program

affecting commerce as defined in the statute because there was not adequate

testimony about commerce.”      (Renewed Mot. for J. of Acquittal or In the

Alternative Mot. for New Trial 1-2, ECF No. 339.) For purposes of the health care

fraud statute, a “health care benefit program” is “any public or private plan or

contract, affecting commerce, under which any medical benefit, item, or service is

provided to any individual, and includes any individual or entity who is providing

a medical benefit, item, or service for which payment may be made under the plan

or contract.” 18 U.S.C. § 24(b). “Courts have interpreted ‘affecting commerce’ to

mean affecting interstate commerce.” United States v. Natale, 719 F.3d 719, 732

n.5 (7th Cir. 2013). Courts of appeal that have considered challenges like Webb’s

have found sufficient evidence of interstate commerce where the record showed

that: (1) defrauded insurance companies were based out of state and did business

throughout the United States, United States v. Gelin, 712 F.3d 612, 620 (1st Cir.

2013); (2) the federal government funded 60% of a defrauded state Medicaid

program, United States v. Kpohanu, 377 F. App’x 519, 523 (6th Cir. 2010)

(unpublished); and (3) “the fraud was to Medicaid, a federally funded program that


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affects commerce,” United States v. Girod, 646 F.3d 304, 316 (5th Cir. 2011).

Indeed, the Fifth Circuit has stated,

      [I]t cannot seriously be contended that Medicare and Medicaid do not
      affect commerce. The provision of medical services affects interstate
      commerce because both physicians and hospitals serve nonresident
      patients and receive reimbursement through Medicare payments, and
      the regulated activity in this case substantially affects commerce and
      is linked to interstate commerce.

United States v. Ogba, 526 F.3d 214, 238 (5th Cir. 2008) (internal quotation marks,

footnotes, and alterations omitted).

      In this case, the evidence showed that MEMC and Bristol Labs, both of

which were located in Virginia, served patients who lived in Tennessee and billed

insurers that operated in Tennessee and elsewhere. Both Virginia Medicaid and

TennCare, the Tennessee Medicaid program, are federally funded, as is Medicare.

For the reasons stated by the Fifth Circuit in Ogba, I find that the government

presented sufficient evidence to show that the defrauded benefit programs affect

interstate commerce.

      Webb argues that there was insufficient evidence to prove he intended to

defraud a health care benefit program. The evidence demonstrated that Webb held

himself out to be an owner of MEMC and Bristol Labs, and numerous witnesses

testified that they believed he was a co-owner. Webb was heavily involved in

recruiting and hiring physicians and counselors, including Dr. Wagner, who later

moved his practice next to Bristol Labs. Several witnesses testified that both Palin

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and Webb were in charge of operations at MEMC and Bristol Labs. One doctor

testified that Webb had asked him to take an online course and test so that he could

prescribe buprenorphine, and Webb arranged for payment of the course fee. One

witness described the Bristol Labs operation as the vision of Palin and Webb, and

stated that a predecessor medical clinic called MedPath had been set up under the

direction of Palin and Webb. The same witness described a conversation in which

he had discussed with Webb the legal implications of Palin and Webb’s ownership

of both Bristol Labs and MEMC, and Webb indicated that the legality of the

relationship was unclear. Another witness testified that Webb had offered to pay

her a per-patient referral fee if she could convince the doctors with whom she

worked to send urine drug screens to Bristol Labs for processing. Training and

marketing materials used by Webb indicate that he was intimately familiar with the

operations of Bristol Labs and MEMC, including urine drug screen protocols. A

consultant emailed both Palin and Webb to warn them of increased scrutiny of

buprenorphine clinics by federal law enforcement and advised that they review

their billing and prescribing practices with legal counsel. Mary E. Curtiss, M.D.,

an addiction medicine practitioner who worked for MEMC and who was charged

but acquitted in this case, told a federal agent that Palin and Webb had decided

MEMC’s fee structure and that MEMC would not accept insurance. An email to

Dr. Curtiss strongly suggesting that she drug test all patients twice per week was


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signed with both Palin and Webb’s names. Both of their names were signed to an

email to Aaron Miller, M.D., another addiction medicine practitioner who briefly

worked for MEMC, in which Palin and Webb asked Dr. Miller to drug screen all of

his patients weekly.

      Based on all of this evidence, I concluded that Webb possessed the requisite

criminal intent to be convicted of health care fraud, as a principal or as an aider and

abetter, and that he knowingly joined Palin and Wagner in a conspiracy to commit

healthcare fraud. He did not merely conduct innocent marketing activities, nor was

he simply a bystander to Palin’s unlawful conduct. Rather, he was well aware of

the fraudulent scheme, likely developed it on his own or with Palin, actively

participated in it, and benefitted from it. He can be held liable for Palin’s illegal

acts both as an aider and abetter and as a coconspirator. There is sufficient

evidence of Webb’s intent to support his conviction.1


      1
          Webb asserts that I found Dr. Curtiss not guilty of conspiracy to commit health
care fraud “because she utilized the lab results.” (Renewed Mot. for J. of Acquittal or In
the Alternative Mot. for New Trial 5, ECF No. 339.) I did not acquit Dr. Curtiss simply
because she used some of the lab results in her treatment of patients. I found that Dr.
Curtiss lacked the requisite criminal intent to be convicted of fraud or conspiracy because
she believed the tests ordered were appropriate and medically necessary. Contrary to Dr.
Curtiss’s belief, I found that weekly testing of all patients by Bristol Labs was not
medically necessary. (Op. 20-21, Apr. 7, 2016, ECF No. 297.) Webb argues that because
Dr. Wagner passed away prior to trial, we cannot know whether Dr. Wagner had
legitimate reasons for ordering urine drug screens, implying that the drug screens of Dr.
Wagner’s patients may have been medically necessary and that he may not have
conspired with Palin and Webb. The evidence showed that Dr. Wagner allowed his non-
medically trained staff members to write prescriptions upon request without physician
oversight and that he failed to even visit his office for lengthy periods of time. In his
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       Palin seeks acquittal or a new trial on the ground that after I issued my

verdict in this case, the Supreme Court decided Universal Health Services, Inc. v.

United States, 136 S. Ct. 1989 (2016), in which the Court construed the materiality

element of a civil action brought under the False Claims Act, 31 U.S.C. § 3729.

The False Claims Act makes a person civilly liable if she, among other things,

       knowingly makes, uses, or causes to be made or used, a false record or
       statement material to an obligation to pay or transmit money or
       property to the Government, or knowingly conceals or knowingly and
       improperly avoids or decreases an obligation to pay or transmit money
       or property to the Government.

31 U.S.C. § 3729(a)(1)(G). The False Claims Act defines “material” as “having a

natural tendency to influence, or be capable of influencing, the payment or receipt

of money or property.” 31 U.S.C. § 3729(b)(4).

       Universal Health Services concerned a theory of liability known as “implied

false certification.”

       According to this theory, when a defendant submits a claim, it
       impliedly certifies compliance with all conditions of payment. But if
       that claim fails to disclose the defendant’s violation of a material
       statutory, regulatory, or contractual requirement, so the theory goes,
       the defendant has made a misrepresentation that renders the claim
       “false or fraudulent” under § 3729(a)(1)(A).
136 S. Ct. at 1995. The Court summarized its holdings as follows:



absence, his staff and the Bristol Labs staff ordered and billed for urine drug screens that
he did not use. There is ample evidence to conclude that Dr. Wagner knew the urine drug
screens of his patients were not medically necessary and that he knowingly conspired
with Palin and Webb to commit health care fraud.
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              We first hold that, at least in certain circumstances, the implied
      false certification theory can be a basis for liability. Specifically,
      liability can attach when the defendant submits a claim for payment
      that makes specific representations about the goods or services
      provided, but knowingly fails to disclose the defendant’s
      noncompliance with a statutory, regulatory, or contractual
      requirement. In these circumstances, liability may attach if the
      omission renders those representations misleading.
             We further hold that False Claims Act liability for failing to
      disclose violations of legal requirements does not turn upon whether
      those requirements were expressly designated as conditions of
      payment. Defendants can be liable for violating requirements even if
      they were not expressly designated as conditions of payment.
      Conversely, even when a requirement is expressly designated a
      condition of payment, not every violation of such a requirement gives
      rise to liability. What matters is not the label the Government attaches
      to a requirement, but whether the defendant knowingly violated a
      requirement that the defendant knows is material to the Government's
      payment decision.
      A misrepresentation about compliance with a statutory, regulatory, or
      contractual requirement must be material to the Government's
      payment decision in order to be actionable under the False Claims
      Act. We clarify below how that rigorous materiality requirement
      should be enforced.
Id. at 1995–96 (emphasis added). In reaching its conclusions, the Court considered

the common law meaning of fraud, which encompasses omissions as well as

express falsehoods. Id. at 1999.

      In Universal Health Services, a clinic had submitted claims for counseling

services performed by professionals who were not licensed and did not meet

licensing requirements. The Court found that the claims submitted “were clearly

misleading in context” because “[a]nyone informed that a social worker at a

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Massachusetts mental health clinic provided a teenage patient with individual

counseling services would probably — but wrongly — conclude that the clinic had

complied    with     core   Massachusetts      Medicaid   requirements”     regarding

qualifications, training, and experience. Id. at 2000.

      The Court went on to say that “a misrepresentation about compliance with a

statutory, regulatory, or contractual requirement must be material to the

Government’s payment decision in order to be actionable under the False Claims

Act.” Id. at 2002.

      A misrepresentation cannot be deemed material merely because the
      Government designates compliance with a particular statutory,
      regulatory, or contractual requirement as a condition of payment. Nor
      is it sufficient for a finding of materiality that the Government would
      have the option to decline to pay if it knew of the defendant's
      noncompliance. Materiality, in addition, cannot be found where
      noncompliance is minor or insubstantial.

Id. at 2003. Materiality is determined by ‘“the effect on the likely or actual

behavior of the recipient of the alleged misrepresentation.’” Id. at 2002 (quoting

26 R. Lord, Williston on Contracts § 69:12, p. 549 (4th ed. 2003)).

      The criminal health care fraud statute under which Palin and Webb were

convicted provides, in relevant part:

            (a) Whoever knowingly and willfully executes, or attempts to
      execute, a scheme or artifice—

             (1) to defraud any health care benefit program; or

             (2) to obtain, by means of false or fraudulent pretenses,
             representations, or promises, any of the money or property
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              owned by, or under the custody or control of, any health care
              benefit program,

       in connection with the delivery of or payment for health care benefits,
       items, or services, shall be fined under this title or imprisoned not
       more than 10 years, or both.
18 U.S.C. § 1347(a). To obtain a conviction for health care fraud, the government

must prove that a defendant:

       (1) knowingly devised a scheme or artifice to defraud a health care
       benefit program in connection with the delivery of or payment for
       health care benefits, items, or services; (2) executed or attempted to
       execute this scheme or artifice to defraud; and (3) acted with intent to
       defraud.
United States v. Hunt, 521 F.3d 636, 645 (6th Cir. 2008) (citation omitted). A

defendant may be convicted of violating the statute only if the government proves

beyond a reasonable doubt that the defendant acted “knowingly and willfully” to

defraud insurers. 18 U.S.C. § 1347(a); McLean, 715 F.3d at 137. In a case like

this one, where the government contends that the defendants ordered and billed for

medically unnecessary tests, the government must prove that the defendants knew

the tests were unnecessary. See id.

       Unlike the False Claims Act, § 1347 does not use the term “material,” and

Palin has cited no case holding that § 1347(a) contains a materiality element. 2


       2
         Palin points to jury instructions I gave in 2012 in another criminal case charging
health care fraud under § 1347. United States v. Louthian, No. 1:12CR00002, Jury Instr.
No. 19, ECF No. 187. In that case, I instructed the jury that the government was required
to prove that “[a] false statement, misrepresentation, or concealment in furtherance of the
scheme was material.” Id. I also instructed the jury that “[a] statement is ‘material’ if it
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Instead, she argues that “[f]raud is fraud,” and therefore if the False Claims Act

requires a material misrepresentation, then § 1347(a) must also require a material

misrepresentation.     (Def. Beth Palin’s Mot. for J. of Acquittal or, In the

Alternative, New Trial 5, n. 1, ECF No. 338.)

      The Fourth Circuit has explained then when interpreting § 1347, “we look to

the ‘common-law understanding of fraud,’ which includes ‘acts taken to conceal,

create a false impression, mislead, or otherwise deceive.’”            United States v.

Witasick, 443 F. App’x 838, 842 (4th Cir. 2011) (unpublished) (quoting United

States v. Colton, 231 F.3d 890, 898 (4th Cir. 2000)). “Also important to the

analysis of common law fraud is whether the defendant ‘fraudulently produc[ed] a

false impression upon the mind of the other party; and if the result is accomplished,

it is unimportant whether the means of accomplishing it are words or acts of the

defendant, or his concealment or suppression of material facts not equally within

the knowledge or reach of the plaintiff.’” United States v. Beverly, 284 F. App’x

36, 39 (4th Cir. 2008) (unpublished) (quoting Colton, 231 F.3d at 899). This

explanation implies that at least if the government’s case against a defendant is




has a natural tendency to influence, or is capable of influencing, the health care benefit
program to which it is directed.” Id. The source of this instruction is unclear. In the
present case, my discussion of the requirements for a conviction under § 1347 did not
include any reference to a materiality element. (See Op. 27-28, Apr. 7, 2016, ECF No.
297.)
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based on concealment of facts, the facts concealed or suppressed by the defendant

must be “material” in order for a defendant to be convicted under § 1347.

      Assuming, without deciding, that the Supreme Court’s statements about

materiality under the False Claims Act apply to § 1347, the misrepresentations at

issue in this case easily satisfy the standard of materiality set forth in Universal

Health Services. The health care benefit program representatives who testified

stated in no uncertain terms that the benefit programs, as a rule, do not pay for

medically unnecessary tests. A Medicare regulation specifically excludes from

coverage “[a]ny services that are not reasonable and necessary for one of” the

enumerated purposes, the most applicable of which is “[f]or the diagnosis or

treatment or illness or injury or to improve the functioning of a malformed body

member.” 42 C.F.R. § 411.15(k). Another Medicare regulation states:

      All diagnostic x-ray tests, diagnostic laboratory tests, and other
      diagnostic tests must be ordered by the physician who is treating the
      beneficiary, that is, the physician who furnishes a consultation or
      treats a beneficiary for a specific medical problem and who uses the
      results in the management of the beneficiary’s specific medical
      problem. Tests not ordered by the physician who is treating the
      beneficiary are not reasonable and necessary (see § 411.15(k)(1) of
      this chapter).
42 C.F.R. § 410.32(a).

      It is clear to me, as fact finder, that none of the affected health care benefit

programs would have paid the claims submitted by Bristol Labs had they known

that the urine drug screens that had been performed were not medically necessary

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for patient diagnosis or treatment. Contrary to Palin’s assertion, there was no

evidence in this case that the benefit programs had paid claims for tests that they

knew were medically unnecessary. See Univ. Health Servs., 136 S. Ct. at 2003-04

(noting that “if the Government pays a particular claim in full despite its actual

knowledge that certain requirements were violated, that is very strong evidence

that those requirements are not material”). Palin is not entitled to acquittal or a

new trial based on the Supreme Court’s decision in Universal Health Services.

       Because the verdicts in this case are supported by substantial evidence and

the interests of justice do not require a new trial, I conclude that the defendants are

not entitled to post-trial relief.

                                          III.

       For the foregoing reasons, it is hereby ORDERED that:

       1.     Defendant Beth Palin’s Motion for Judgment of Acquittal or, In the

Alternative, New Trial (ECF No. 338) is DENIED; and

       2.     The Renewed Motion for Judgment of Acquittal or In the Alternative

Motion for New Trial (ECF No. 339) is DENIED.


                                                 ENTER: August 2, 2016

                                                 /s/ James P. Jones
                                                 United States District Judge




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